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                                 Robert W. Johnson & Associates
                                              FORENSIC ECONOMISTS



                                                                       December 3, 2018

          Mr. Philip Arnold
          Campiche Arnold PLLC
          1201 Third Ave.
          Ste. 3810
          Seattle, WA 98101

          Re:      Estate of Tommy Le, et al. v. King County, et al.
                   Rule 26 Document

          Dear Mr. Arnold:

          Opinions:

                   My primary task was to calculate the present cash value of economic
                   damages for Mr. Tommy Le. This opinion is set forth in my Economic
                   Impact Report, attached as Exhibit "A". My second task was to frame, in
                   economic terms, the range a jury should use in valuing the loss to the
                   family of Mr. Le's society, companionship, etc. This opinion is set forth in
                   my Loss of Human Value of Life Report attached as Exhibit "B". This
                   economist reserves the right to amend this opinion based upon more
                   current or relevant data and evidence admitted at the time of trial.

                1. Data Considered:

                  My opinion is based in part on my experience, training and knowledge as
                  a forensic economist. In forming my opinions, I have reviewed the
                  following documents:

                   Economic Impact Report:

                      a. Plaintiffs' Second Amended Complaint for Damages for Violation of
                         Civil Rights, dated 5/30/2018;
                      b. Educational records from South Seattle College;
                      c. 2017 W-2 form;
                      d. Employment and payroll records from Goodwill Industries and
                         Macau Southcenter LLC;
                      e. "Education Goals" table provided by counsel;
                      f. U.S. Census Bureau, CURRENT POPULATION SURVEY 2017,
                         ANNUAL SOCIAL AND ECONOMIC SUPPLEMENT, Educational
                         Attainment Tables PINC-03 and PINC-04, 2006-2016;
                      g. Fringe benefits data provided by the U.S. Bureau of Labor Statistics
                         and the Social Security Administration;
                      h. Personal consumption data provided by Patton & Nelson;


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                                           Website: www.rwja.com
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Rule 26 Document
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        i.   Wall Street Journal - U.S. Treasury Zero Coupon Strips, Principal
             Only, 9/28/2018;
        j.   Wage growth, price changes and interest rates based on the U.S.
             Bureau of Labor Statistics and the Council of Economic Advisors,
             Economic Report of The President, 1991-2018.

      Human Value of Life Economic Impact Report:

        a. Opinion and Jury Instruction No. 38 from Thomas, et al. v. Cannon, et
           al., U.S. District Court, Western District of Washington;
        b. Woods, E.A. and Metzger, C.B., "America's Human Wealth: The
           Money Value of Human Life", New York, Kelly, 1927. Dublin, L. and
           Lotka, A., "The Money Value of a Man", New York Press, 1940;
        c. Gillette, C.P. and Hopkins, T.D., "Federal Agency Valuations of
           Human Life: A Report to the Administrative Conference of the United
           States", April 1, 1988 - March 30, 1989;
        d. Schelling, T.C., "The Life You Save May Be Your Own", Problems in
           Public Expenditure, Brookings Institute, 1968;
        e. “The Plausible Range for the Value of Life”, Journal of Forensic
           Economics, Vol. 3, No. 3, 1990, by Dr. T. Miller;
        f. “The Value of Life: Estimates with Risks by Occupation and Industry”,
           Economic Inquiry, Vol. 42, No. 1, January 2004 by Dr. W. Kip Viscusi.


  2. Exhibits

     I have not yet created or prepared any exhibits.


  3. Qualifications

     A summary of my qualifications and recent publications is attached as:
                Mr. Johnson – Exhibit “C”
                Mr. Mills – Exhibit “D”


  4. Compensation

                   Mr. Johnson – $700.00 per hour
                   Mr. Mills – $550.00 per hour
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December 3, 2018
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   5. Prior Expert Testimony

                     Mr. Johnson - Exhibit "E"
                     Mr. Mills - Exhibit "F"


If we can be of further assistance, please call either of us.

Very truly yours,

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Robert W . Johnson
Case 2:18-cv-00055-TSZ Document 44-1 Filed 12/12/18 Page 4 of 61




                        Exhibit "A"

  ECONOMIC IMPACT
      REPORT




             Robert W. Johnson & Associates
          4984 El Camino Real Suite 210 Los Altos, CA 94022
Case 2:18-cv-00055-TSZ Document 44-1 Filed 12/12/18 Page 5 of 61




                   WRONGFUL DEATH
                  Economic Impact Report

      Estate of Tommy Le, et al. v. King County, et al.




              Robert W. Johnson & Associates
                       Los Altos, CA
              Case 2:18-cv-00055-TSZ Document 44-1 Filed 12/12/18 Page 6 of 61

                                 Robert W. Johnson & Associates
                                             FORENSIC ECONOMISTS




                                                                   December 3, 2018

      Mr. Philip Arnold
      Campiche Arnold PLLC
      1201 Third Ave.
      Ste. 3810
      Seattle, WA 98101

      Re: Estate of Tommy Le, et al. v. King County, et al.


      Dear Mr. Arnold :

     I have examined the information given to Robert W. Johnson & Associates regarding
     Mr. Tommy Le and his heirs' pecuniary (financial support, etc.) losses. Based on this
     data, I have calculated the present cash value of the pecuniary economic loss using
     generally accepted statistical techniques and econometric methods of analysis. My
     opinion on this matter is set forth below. This economic analysis does not include any
     possible damages for Mr. Le's heirs' non-economic damages.

     This economic loss evaluation presumes several economic relationships regarding
     inflation, wages and wage growths. These relationships were empirically determined
     based on over 50 years of post-World War II economic data (please see the discussion
     of economic assumptions). Interest rates are those that are currently available.



                                                                      Total
                                                                   Present
                                                                     Value
     Scenario 1
     Expected Income: High School Graduate                    $2,656,258
     Personal Consumption                                    -$2,007,671

     TOTALS:                                                    $648,587




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                                                            Total
                                                         Present
                                                           Value
Scenario 2
Expected Income: 1-3 Years of College                $3,063,084
Personal Consumption                                -$2, 137,466

TOTALS:                                                $925,618


                                                            Total
                                                         Present
                                                           Value
Scenario 3
Expected Income: College Graduate                    $4,245,399
Personal Consumption                                -$2,472,404

TOTALS:                                              $1,772,995



If we can be of further assistance, please call either of us.

Very truly yours,

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Robert W. Johnson
        Case 2:18-cv-00055-TSZ Document 44-1 Filed 12/12/18 Page 8 of 61

                 WRONGFUL DEATH- ECONOMIC IMPACT REPORT
                  Re: Estate of Tommy Le, et al. v. King County, et al.



Name: Mr. Tommy Le

Date of birth: 11/21/1996

Age at date of loss: 20
Gender: Male

Date of loss: 6/14/2017
Date of report: 12/3/2018
Year discounting starts: 2019

Expected Employment: High School Graduate/1-3 Years of College/College Graduate

This report quantifies the economic damages of this case. It does not include any non-
economic damages.

All future losses, expenses, mitigating income, etc. (if applicable), beyond the current
year are brought to a present value using the appropriate discount rates as discussed
on the following page(s).
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                       WRONGFUL DEATH - ECONOMIC IMPACT REPORT
                        Re: Estate of Tommy Le, et al. v. King County, et al.



This analysis calculates the present value of Mr. Le's heirs' economic damages, starting
6/14/2017, until the end of his work-life capacity. Future economic damages are
reduced to present value using current U.S. Treasury (zero coupon strips) yields for
each respective year in the future. This analysis does not consider loss of society or
any other non-economic issue. This economist reserves the right to amend this opinion
based upon more current or relevant data and evidence admitted at the time of trial.


Expected Income:

Scenario 1: High School Graduate
This analysis estimates Mr. Le's Expected Income for the remainder of 2017 to be
$10,925, in 2018 through 2020 to be $31,895 per annum, in 2021 to be $33,160, in
2022 through 2060 to be $43,390 per annum, and in 2061 to be $38,617 as an average
high school graduate based on information supplied by Macau Southcenter LLC and the
U.S. Census Bureau·. Mr. Le's fringe benefits are estimated to be 21.65% of his
Expected Income (7.65% in 2017) based on information suppfied by the U.S. Bureau of
Labor Statistics and the Social Security Administration for the national average fringe
benefits package. Mr. Le's Expected Income is increased by an average growth rate of
3.9%. Mr. Le's Expected Income is calculated until the end of his work-life capacity in
the year 2061. This income is part of the loss and is included in the calculation of Mr.
Le's personal consumption.

Scenario 2: 1-3 Years of College
This analysis estimates Mr. Le's Expected Income for the remainder of 2017 to be
$10,925, in 2018 to be $19,864, in 2019 to be $19,864, in 2020 to be $40,175, in 2021
to be $41,338, in 2022 through 2060 to be $50,742 per annum, and in 2061 to be
$45, 160 as an average wage earner with 1-3 years of college based on information
supplied by Macau Southcenter LLC and the U.S. Census Bureau·. Mr. Le's fringe
benefits are estimated to be 21.65% of his Expected Income (7.65% in 2017 - 2019)
based on information supplied by the U.S. Bureau of Labor Statistics and the Social
Security Administration for the national average fringe benefits package. Mr. Le's
Expected Income is increased by an average growth rate of 3.9%. Mr. Le's Expected
Income is calculated until the end of his work-life capacity in the year 2061. This
income is part of the loss and is included in the calculation of Mr. Le's personal
consumption.

Scenario 3: College Graduate
This analysis estimates Mr. Le's Expected Income for the remainder of 2017 to be
$10,925, in 2018 through 2021 to be $19,864 per annum, in 2022 through 2060 to be
$72,373 per annum, and in 2061 to be $64,412 as an average college graduate based
on information supplied by Macau Southcenter LLC and the U.S. Census Bureau*. Mr.

• This is not the Future Value, adjusted for growth.
       Case 2:18-cv-00055-TSZ Document 44-1 Filed 12/12/18 Page 10 of 61

                WRONGFUL DEATH - ECONOMIC IMPACT REPORT
                 Re: Estate of Tommy Le, et al. v. King County, et al.



Le's fringe benefits are estimated to be 21.65% of his Expected income (7.65% in 2017
- 2021) based on information supplied by the U.S. Bureau of Labor Statistics and the
Social Security Administration for the national average fringe benefits package. Mr. Le's
Expected Income is increased by an average growth rate of 3.9%. Mr. Le's Expected
Income is calculated until the end of his work-life capacity in the year 2061. This
income is part of the loss and is included in the calculation of Mr. Le's personal
consumption.


Personal Consumption:

This analysis estimates Mr. Le's consumption percentage to be variable depending
upon income and family size based on the study Patton-Nelson Personal Consumption
Tables 2011-12.
                          Case 2:18-cv-00055-TSZ Document 44-1 Filed 12/12/18 Page 11 of 61



                                        Wage Growth & Inflation Rates
                                                1950 - 2017

15%
                                                 INFLATION RATES




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                             WAGE GROWTH                   I
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       1950     1955    1960     1965            1970    1975        1980             1985         1990                  1995       2000         2005         2010        2015 2017


            -       WAGEGROWTH                              -          INFLATION RATES                                               - - -     MEDICAL INFLATION RATES


      Robert W. Johnson & Associates                                                                                            Source: Economic Report of the President, 1991 - 2018;
                                                                                                                                        The U.S. Bureau of Labor Statistics
                           Case 2:18-cv-00055-TSZ Document 44-1 Filed 12/12/18 Page 12 of 61

                                U.S. Treasury Zero Coupon Strips*
                                            2019 - 2048
3.5% .----- ------ ------ ------ ------ ------ -


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        2019                2024                 2029                 2034                2039                  2044                 2048

         Robert W. Johnson & Associates                                                       Source: Wall StreetJournal@WSJ.com    9/28/2018

                                                                                                              *Principal Only - Notes & Bonds
                            Case 2:18-cv-00055-TSZ Document 44-1 Filed 12/12/18 Page 13 of 61


                                    Decline in the Purchasing Power of $100
                                                   1950 - 2017
$100 -


                    !!!!!




 $80 -




 $60 -




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         1950      1955      1960    1965   1970   1975   1980   1985   1990   1995      2000        2005        2010       2015 2017

         Robert W. Johnson & Associates                                          Source: Economic Report of the President, 1991 - 2018;
                                                                                         The U.S. Bureau of Labor Statistics
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              Average Weekly Earnings in Private Non-Agricultural Industries
                                       1950 - 2017
       $800 - - - - - - - - - - - - - - - - - - - - - - - - - - -


       $700



       $600



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          1950    1955     1960   1965     1970   1975   1980      1985        1990        1995       2000        2005        2010       20152017



          Robert W. Johnson & Associates                 Source: Average Weekly Earnings, Total Private; Economic Report of the President, 1991 - 2018
  Case 2:18-cv-00055-TSZ Document 44-1 Filed 12/12/18 Page 15 of 61

         WRONGFUL DEATH - ECONOMIC IMPACT REPORT
          Re: Estate of Tommy Le, et al. v. King County, et al.



                     Expected Income (Scenario 1)

Year              Present
                    Value

2017               11,761
2018              38,800
2019              38,800
2020              39,208
2021              41,167
2022              54,592
2023              54,887
2024              55,131
2025              55,515
2026              55,908
2027              56,326
2028              56,785
2029              57,303
2030              57,776
2031              58,184
2032              58,659
2033              59,137
2034              59,619
2035              60,105
2036              60,495
2037              60,982
2038              61,134
2039              61,251
2040              61,333
2041              61,641
2042              61,939
2043              62,226
2044              62,806
2045              63,245
2046              63,686
2047              64,130
2048              64,760
2049              65,218
2050              65,679
2051              66,144
2052              66 ,612
2053              67,083
2054              67,558
  Case 2:18-cv-00055-TSZ Document 44-1 Filed 12/12/18 Page 16 of 61


         WRONGFUL DEATH - ECONOMIC IMPACT REPORT
          Re: Estate of Tommy Le, et al. v. King County, et al.



                     Expected Income (Scenario 1)

Year              Present
                    Value

2055               68,036
2056               68,517
2057               69,002
2058               69,490
2059               69,982
2060               70,477
2061               63,169

Total           2,656,258
 Case 2:18-cv-00055-TSZ Document 44-1 Filed 12/12/18 Page 17 of 61

        WRONGFUL DEATH - ECONOMIC IMPACT REPORT
         Re: Estate of Tommy Le, et al. v. King County, et al.



                    Expected Income (Scenario 2)

Year             Present
                   Value

2017             11,761
2018             21,384
2019             21,384
2020             49,386
2021             51,320
2022             63,843
2023             64,188
2024             64,472
2025             64,922
2026             65,382
2027             65,870
2028             66,407
2029             67,013
2030             67,566
2031             68,044
2032             68,598
2033             69,157
2034             69,721
2035             70,289
2036             70,745
2037             71,315
2038             71,493
2039             71,630
2040             71,725
2041             72,086
2042             72,434
2043             72,770
2044             73,448
2045             73,961
2046             74,477
2047             74,997
2048             75,733
2049             76,269
2050             76,808
2051             77,352
2052             77,899
2053             78,450
2054             79,005
  Case 2:18-cv-00055-TSZ Document 44-1 Filed 12/12/18 Page 18 of 61

         WRONGFUL DEATH - ECONOMIC IMPACT REPORT
          Re: Estate of Tommy Le, et al. v. King County, et al.



                     Expected Income (Scenario 2)

Year              Present
                    Value

2055               79,564
2056               80,127
2057               80,694
2058               81,265
2059               81,840
2060               82,419
2061               73,871

Total           3,063,084
  Case 2:18-cv-00055-TSZ Document 44-1 Filed 12/12/18 Page 19 of 61

         WRONGFUL DEATH - ECONOMIC IMPACT REPORT
          Re: Estate of Tommy Le, et al. v. King County, et al.



                     Expected Income (Scenario 3)

Year              Present
                    Value

2017              11,761
2018              21,384
2019              21,384
2020              21,609
2021              21,823
2022              91,058
2023              91,550
2024              91,956
2025              92,598
2026              93,253
2027              93,949
2028              94,715
2029              95,580
2030              96,368
2031              97,050
2032              97,841
2033              98,638
2034              99,442
2035             100,253
2036             100,903
2037             101,716
2038             101,970
2039             102,165
2040             102,301
2041             102,815
2042             103,312
2043             103,791
2044             104,759
2045             105,490
2046             106,226
2047             106,967
2048             108,017
2049             108,781
2050             109,551
2051             110,326
2052             111,107
2053             111,893
2054             112,684
  Case 2:18-cv-00055-TSZ Document 44-1 Filed 12/12/18 Page 20 of 61

         WRONGFUL DEATH - ECONOMIC IMPACT REPORT
          Re: Estate of Tommy Le, et al. v. King County, et al.



                     Expected Income (Scenario 3)

Year              Present
                   Value

2055              113,482
2056              114,285
2057              115,093
2058              115,908
2059              116,728
2060              117,554
2061              105,363

Total           4,245,399
Case 2:18-cv-00055-TSZ Document 44-1 Filed 12/12/18 Page 21 of 61


          WRONGFUL DEATH - ECONOMIC IMPACT REPORT
           Re: Estate of Tommy Le, et al. v. King County, et al.



                   Personal Consumption (Scenario 1)

   Year                                      Total                    Personal
                                           Income                  Consumption

   2017                                     11,761                      13,208
   2018                                     38,800                      34,040
   2019                                     38,800                      34,040
  2020                                     39,208                      34,397
  2021                                     41,167                      35,380
  2022                                     54,592                      40,696
  2023                                     54,887                      40,916
  2024                                     55,131                      41,098
  2025                                     55,515                      41,384
  2026                                     55,908                      41,677
  2027                                     56,326                      41,989
  2028                                     56,785                      42,331
  2029                                     57,303                      42,717
  2030                                     57,776                      43,070
  2031                                     58,184                      43,374
  2032                                     58,659                      43,728
  2033                                     59,137                      44,085
  2034                                     59,619                      44,444
  2035                                     60,105                      44,806
  2036                                     60,495                      45,097
  2037                                     60,982                      45,460
  2038                                     61,134                      45,573
  2039                                     61,251                      45,660
  2040                                     61,333                      45,722
  2041                                     61,641                      45,951
  2042                                     61,939                      46,173
  2043                                     62,226                      46,387
  2044                                     62,806                      46,820
  2045                                     63,245                      47,147
  2046                                     63,686                      47,476
  2047                                     64,130                      47,807
  2048                                     64,760                      48,276
  2049                                     65,218                      48,618
  2050                                     65,679                      48,961
  2051                                     66,144                      49,308
  2052                                     66,612                      49,657
  2053                                     67,083                      50,008
  2054                                     67,558                      50,362
Case 2:18-cv-00055-TSZ Document 44-1 Filed 12/12/18 Page 22 of 61

           WRONGFUL DEATH - ECONOMIC IMPACT REPORT
            Re: Estate of Tommy Le, et al. v. King County, et al.



                    Personal Consumption (Scenario 1)

   Year                                       Total                    Personal
                                            Income                  Consumption

   2055                                     68,036                       50,718
   2056                                     68,517                       51,077
   2057                                     69,002                       51,439
   2058                                     69,490                       51,802
   2059                                     69,982                       52,169
   2060                                     70,477                       52,538
   2061                                     63,169                       50,085

   Total                                 2,656,258                    2,007,671
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          WRONGFUL DEATH - ECONOMIC IMPACT REPORT
           Re: Estate of Tommy Le, et al. v. King County, et al.



                   Personal Consumption (Scenario 2)

   Year                                      Total                    Personal
                                           Income                  Consumption

   2017                                     11,761                      13,208
   2018                                     21,384                     24,016
   2019                                    21,384                      24,016
   2020                                    49,386                      38,346
  2021                                     51,320                      39,251
  2022                                     63,843                      43,810
  2023                                     64,188                      44,047
  2024                                     64,472                      44,242
  2025                                     64,922                      44,550
  2026                                     65,382                      44,866
  2027                                     65,870                      45,201
  2028                                     66,407                      45,569
  2029                                     67,013                      45,985
  2030                                     67,566                      46,365
  2031                                     68,044                      46,693
  2032                                     68,598                      47,073
  2033                                     69,157                      47,457
  2034                                     69,721                      47,844
  2035                                     70,289                      48,233
  2036                                     70,745                      48,546
  2037                                     71,315                      48,937
  2038                                     71,493                      49,059
  2039                                     71,630                      49,154
  2040                                     71,725                      49,219
  2041                                     72,086                      49,466
  2042                                     72,434                      49,705
  2043                                     72,770                      49,936
  2044                                     73,448                      50,401
  2045                                     73,961                      50,753
  2046                                     74,477                      51,107
  2047                                     74,997                      51,464
  2048                                     75,733                      51,969
  2049                                     76,269                      52,337
  2050                                     76,808                      52,707
  2051                                     77,352                      53,080
  2052                                     77,899                      53,455
  2053                                     78,450                      53,833
  2054                                     79,005                      54,214
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           WRONGFUL DEATH - ECONOMIC IMPACT REPORT
            Re: Estate of Tommy Le, et al. v. King County, et al.



                    Personal Consumption (Scenario 2)

   Year                                       Total                    Personal
                                            Income                  Consumption

   2055                                     79,564                       54,598
   2056                                     80,127                       54 ,984
   2057                                     80,694                       55,373
   2058                                     81,265                       55,765
   2059                                     81,840                       56,160
   2060                                     82,419                       56,557
   2061                                     73,871                       53,915

   Total                                 3,063,084                    2,137,466
Case 2:18-cv-00055-TSZ Document 44-1 Filed 12/12/18 Page 25 of 61

          WRONGFUL DEATH - ECONOMIC IMPACT REPORT
           Re: Estate of Tommy Le, et al. v. King County, et al.



                   Personal Consumption (Scenario 3)

   Year                                      Total                    Personal
                                           Income                  Consumption

   2017                                     11,761                      13,208
  2018                                     21,384                       24,016
  2019                                     21,384                      24,016
  2020                                     21,609                      24,268
  2021                                     21,823                      24,509
  2022                                     91,058                      51,783
  2023                                     91,550                      52,063
  2024                                     91,956                      52,294
  2025                                     92,598                      52,659
  2026                                     93,253                      53,031
  2027                                     93,949                      53,427
  2028                                     94,715                      53,863
  2029                                     95,580                      54,355
  2030                                     96,368                      54,803
  2031                                     97,050                      55 ,191
  2032                                     97,841                      55,640
  2033                                     98,638                      56,094
  2034                                     99,442                      56,551
  2035                                    100,253                      57,012
  2036                                    100,903                      57,382
  2037                                    101,716                      57,844
  2038                                    101,970                      57,989
  2039                                    102,165                      58,099
  2040                                    102,301                      58,177
  2041                                    102,815                      58,469
  2042                                    103,312                      58,752
  2043                                    103,791                      59,024
  2044                                    104,759                      59,575
  2045                                    105,490                      59,990
  2046                                    106,226                      60,409
  2047                                    106,967                      60,830
  2048                                    108,017                      61,427
  2049                                    108,781                      61,862
  2050                                    109,551                      62,300
  2051                                    110,326                      62,740
  2052                                    111,107                      63,185
  2053                                    111,893                      63,632
  2054                                    112,684                      64,081
Case 2:18-cv-00055-TSZ Document 44-1 Filed 12/12/18 Page 26 of 61

           WRONGFUL DEATH - ECONOMIC IMPACT REPORT
            Re: Estate of Tommy Le, et al. v. King County, et al.



                    Personal Consumption (Scenario 3)

   Year                                       Total                    Personal
                                            Income                  Consumption

   2055                                    113,482                       64,535
   2056                                    114,285                       64,992
   2057                                    115,093                       65,451
   2058                                    115,908                       65,915
   2059                                    116,728                       66,381
   2060                                    117,554                       66,851
   2061                                    105,363                       63,729

   Total                                 4,245,399                    2,472,404
      Case 2:18-cv-00055-TSZ Document 44-1 Filed 12/12/18 Page 27 of 61




                            PRESENT VALUE CALCULATION



This report quantifies the economic damages of this case.         It does not include non-
economic (general) damages.

The lost wages and earning capacity are assumed to increase in the future. The wage
growth rates used in this report were determined from post-war (1950 - 2017) U.S.
economic data and are illustrated in the attached chart. The economic data for the period
of 1950 - 1963 has been adjusted to incorporate post 1963 data set changes. Future
lost wages and earning capacity are also assumed to be adjusted to present value based
on current interest rates. The interest rates used in this report are current yields on U.S.
Treasury Securities, also illustrated in an attached chart.

In cases where the subject's wage growth is assumed to track the national average and
he/she has no expected job changes, the column showing his/her wages will remain
constant after the present year. This is correct. Wage growth, inflation, and interest rates
are all accounted for in the present value process.

Similar to the present value process for lost wages and earning capacity, anticipated future
expenses and medical costs are also assumed to increase in the future. The inflation
rates used in this report were determined from post-war (1950 - 2017) U.S. economic data
and are illustrated in the attached chart. Future expenses and medical costs are also
assumed to be adjusted to present value based on current interest rates.
      Case 2:18-cv-00055-TSZ Document 44-1 Filed 12/12/18 Page 28 of 61




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Case 2:18-cv-00055-TSZ Document 44-1 Filed 12/12/18 Page 29 of 61




                        Exhibit "B"

     LOSS OF
HUMAN VALUE OF LIFE




              Robert W. Johnson & Associates
          4984 El Camino Real Suite 210 Los Altos, CA 94022
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                                  Robert W. Johnson & Associates
                                              FORENSIC ECONOMISTS




                                                                           December 3, 2018

      Mr. Philip G. Arnold
      Campiche Arnold PLLC
      1201 Third Ave., Ste. 3810
      Seattle, WA 98101

      Re: Estate of Tommy Le, et al. v. King County, et al.


      Dear Mr. Arnold:

      I have reviewed the information that was given to Robert W. Johnson & Associates
      regarding the death of Mr. Tommy Le. I have made an extensive review of the relevant
      economic literature regarding the economic guidelines on the human value of life. My
      opinion, based on using generally accepted methods of economic analysis relied upon by
      economists in this field, is set forth below.


      It is my opinion that the range a jury should use in valuing the loss to the family of his
      society, companionship, etc., is from $3,700,000 to a midpoint of $13,600,000. This
      constitutes a framework for measuring the loss to the survivors. It is assumed that the
      quality of the relationship between Mr. Le and his parents, Hoai Le and Dieu Le, at least
      meets the minimum standards of the trier of fact. For purposes of this report, the concept
      is referred to as the loss of human value of life.

      If we can be of further assistance, please call either of us.

      Very truly yours,

      ~{PU'            w. q:;~~;/1/}
      Robert W . Johnson




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                HUMAN VALUE OF LIFE ECONOMIC IMPACT REPORT
                  Re: Estate of Tommy Le, et al. v. King County, et al.


Name: Mr. Tommy Le


Date of birth: November 21 , 1996


Age at date of death: 20


Gender: Male


Date of death: June 14, 2017


Date of valuation: December 3, 2018


Survivors:    Hoai Le- Father
              Dieu Le - Mother




State of Jurisdiction: Federal / Washington
                       This case is being tried under Federal law in the State of
                       Washington.


This report quantifies the general damages of the loss to the survivors. It does not include
any economic damages for lost support.

The applicable parts of Jury Instruction No. 38 from Thomas, et al. v. Cannon, et al. that
are pertinent to this case include the following: "The loss of enjoyment of life experienced
and that with reasonable probability will be experienced in the future; The mental, physical,
emotional pain and suffering experienced and that with reasonable probability will be
experienced in the future; Deprivation of Life." 1
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                 HUMAN VALUE OF LIFE ECONOMIC IMPACT REPORT
                   Re: Estate of Tommy Le, et al. v. King County, et al.


                                         DISCUSSION



The field of economics has a long history of applying the analytical techniques and
methodologies of statistical and economic analysis in attempting to determine the value of
human life. One of the earliest economic methodologies, appearing in 19272 , was called
Human Capital. This methodology basically stated the total value of life is equivalent to
the amount of money you make. Yet economists have long recognized that this definition
of the total value of human life is inadequate and incomplete. As stated in Federal Agency
Valuations of Human Life,

               "Human life has value not simply because of the ability of humans to
       produce goods that have market values (a function that does permit some
       measure of human life, i.e., Human Capital) but also because life generates
       additional value less susceptible to quantification. Within this category lie
       such factors as community, friendship ... "3 .

A simple attempt to apply this methodology to plaintiffs such as homemakers, retirees and
children quickly and clearly demonstrates the significant shortcomings in this methodology.

To calculate the dollar value society places on the non-wage-loss/non-financial portion of
life, or in economic parlance, the societal intangible human value of life, economists in
1968 started to use the economic methodology called Willingness-to-Pay4.                    The
Willingness-to-Pay (WTP) methodology is designed to provide a statistically relevant
measure of how much, in dollar terms, this society values life. It is basically how much
people are willing to pay (or willing to give up in dollars) to avoid an increase in the risk of
death. The summing of this measure across all people provides an estimate, to a
reasonable degree of economic certainty, of the intangible human value of life. WTP
estimates are primarily derived from statistical analysis of labor markets or by using
sophisticated consumer surveys.

Simply put, the WTP is an econometric way of placing a dollar-value on an intangible (the
human value of life) for which there is no replacement cost. For this report the loss of
care, companionship, society, etc. is called the loss of the intangible human-value-of life.
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                HUMAN VALUE OF LIFE ECONOMIC IMPACT REPORT
                  Re: Estate of Tommy Le, et al. v. King County, et al.



A simple example of the WTP economic methodology can be illustrated with the following
scenario. Let us assume there is a toxin in a town of 20,000 people causing a fatality rate
of 3 people per 20,000. The toxin can be reduced to the point where the fatality rate is
only 1 person out of 20,000, thus saving 2 lives. The townspeople are asked, "How much
are they willing to pay to save these two lives?" It is important to note that the
townspeople recognize there is no way of knowing in advance whose lives are going to be
saved. It could be the local vagrant bum, an infant, spouse, or the local version of Dr.
Jonas Salk. All that remains is the intangible human value of life. Although there was
some variation, the average amount each citizen was willing to pay was $200.
Consequently, since the average citizen was willing to pay $200 for this reduction in the
rate of death, then the total Willingness-to-Pay would be $4,000,000 and the intangible
human value of life per person saved was $2,000,000.

This economic methodology (WTP) has in the past 20+ years been the subject of rigorous
critical analysis and validation. The Willingness-to-Pay methodology has generated over
66 studies, journal articles, reports, etc., by economists. As a result of such thorough and
extensive analysis, the Willingness-to-Pay economic methodology has become the
recognized standard for quantifying the loss of care, comfort, society, consortium, etc. - the
intangible human value of life.

Among the many published studies, two prominent analyses on the Human Value of Life
are (1) "The Plausible Range for the Value of Life", by Dr. T. Miller5 and (2)" The Value of
Life: Estimates with Risks by Occupation and Industry", by Dr. W. Kip Viscusi 6 . In the
Miller study, which represents his critical analysis of over 66 different analyses (by other
economists) of the Human Value of Life, he deemed 47 as sound. These 47 qualifying
studies yielded a statistical floor value of $2,200,000 (in 1988 dollars). In the Viscusi
study, the authors' empirical analysis of Bureau of Labor Statistics data yielded a value of
life of $8,900,000 (in 1997 dollars).

Thus, after deducting for the Human Capital component and converting to before tax
dollars, the appropriate range for the intangible Human Value of Life is from a low of
$1,800,000 in 1988 dollars to a mid-point of $8,900,000, in 1997 dollars. When converted
(using the Consumer Price Index) into 2017 dollars, the range is from $3,700,000 to
$13,600,000.
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            HUMAN VALUE OF LIFE ECONOMIC IMPACT REPORT
              Re: Estate of Tommy Le, et al. v. King County, et al.


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4. Schelling, T.C. , "The Life You Save May Be Your Own", Problems in Public
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5. Miller, T., "The Plausible Range for the Value of Life", Journal of Forensic
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   Economic Inquiry, Vol. 42, No. 1, January 2004.
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                                  Robert W. Johnson & Associates
                                              FORENSIC ECONOMISTS


                                               Exhibit "C"
                                            CURRICULUM VITAE

                                             Robert W. Johnson

      EDUCATION

              Stanford University Graduate School of Business
              Palo Alto, California MBA - Major: Finance & Investments, 1973
              Baruch College - New York, New York
              B.A., Business Administration - Major: Economics, 1970

              Continuing Education
              American Management Association and Strategic Planning Institute: strategic
              planning and mergers & acquisitions.

      PROFESSIONAL HISTORY

             1988 to Present
             ROBERT W. JOHNSON & ASSOCIATES - Los Altos, California
             President. Expert witness in cases involving Human Value of Life (quantifying non-
             economic damages) Analysis. Expert witness, for both plaintiff and defense, in
             cases deciding economic damages in personal injury, wrongful death, lost business
             profits, breach of contract, and wrongful terminations. Qualified as an expert
             witness at the state and federal level in over 10 states.

             1982 to 1988
             LEGAL ECONOMIC EVALUATIONS INC. - Palo Alto, California
             President. Expert witness in cases (both plaintiff and defense) deciding lost
             business profits, personal injury, breach of contract, pensions and wrongful
             terminations. Experienced in trial testimony, efficient discovery, depositions, the
             cross-examination of opposing experts, and determining critical path through a
             case.

             1981 to 1982
             LEGAL ECONOMETRICS INC. - San Francisco, California
             Senior Consultant. Directed economic analysis of cases involving lost business
             profits, anti-trust, wrongful death and personal injury. Experienced in determining
             critical path through cases, efficient discovery and cross-examination of opposing
             experts.

             1981
             FMC CORP - San Jose, California
             Assistant to Group Controller. Coordinated and approved ail capitai expenditures
             ($75 million per year) for $2.5 billion Defense Equipment Group.



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CURRICULUM VITAE

      1979 -1981
      HRB SINGER INC. - State College, Pennsylvania
      Assistant to Vice President. Directed corporate acquisition policy and special
      situations analysis involving strategic analysis of corporate divisions.

      1977 -1978
      RWJ INC. - State College, Pennsylvania
      Owner. Manufacturer.

      1975 -1977
      FUEL CRISIS INC. - New York, New York
      Vice President of Marketing. Directed national marketing program.

      1973 -1975
      AMERICAN EXPRESS INVESTMENT MANAGEMENT CO - San Francisco,
      California
      Securities Analyst/Portfolio Manager. Analyzed and made stock recommendations
      for six industries and managed part of a $700 million mutual fund.

      1972 -1973
      DONALDSON LUFKIN & JENRETTE - New York, New York
      Securities Analyst. Analyzed and made stock recommendations to the 100 largest
      financial institutions in the U.S.

      Security Clearance Level - Secret

PROFESSIONAL ASSOCIATION AND LICENSE

      Member of the American Economic Association.
      Member of the Western Economic Association.
      Founding Member of the National Association of Forensic Economists.

      Licensed life and disability agent. Broker of structured settlements.

CASE INVOLVEMENT (partial list)

     ADAMS v. AMERICAN AIRLINES - Retained as economic expert by the defense
     to analyze the economic loss to the plaintiffs family as a result of his death in the
     Chicago DC-10 accident.
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                                                                                 page3


CURRICULUM VITAE


    PULEO v. CROCKER BANK - Retained as economic expert by plaintiff to
    determine lost wages and fringe benefits as a result of an alleged wrongful
    termination.

    BELTZ TRAVEL SERVICE        v. TRANS WORLD AIRLINES - Retained as economic
    expert for defendant, analyzed plaintiff's losses and determined the firm's going
    concern value.

    JOCHIMS v. U.S.A. - Retained as economic expert by plaintiff to determine lost
    wages and benefits as a result of alleged medical malpractice.

    VINYL PRODUCTS v. ARMSTRONG CORK - Retained as economic expert by
    defense to determine the amount of lost business profits due to alleged product
    liability.

    THORNTON v. PAINE WEBER - Retained as economic expert by plaintiff to
    determine economic loss from alleged wrongful manipulation of plaintiff's stock
    portfolio.

    LEE & PRASZKER v. WOODWARD-CLYDE - Retained as economic expert by
    defendant to determine the amount of economic loss due to alleged slander by
    defendant.

    MORRIS v. JOHNS-MANVILLE - Retained as economic expert by plaintiff to
    determine the lost economic support as result of a wrongful death.

    HECKERT v. HURST - Retained as economic expert by plaintiff to quantify the loss
    due to alleged attorney malpractice in bankruptcy case.

    MGM GRAND HOTEL v. LLOYDS OF LONDON - Retained as the economic
    expert by defendant to determine economic loss due to the death of eighty plaintiffs
    including foreign nationals.
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CURRICULUM VITAE


PUBLICATIONS

    "Structuring Settlements: A Negotiating Guide", New York Trial Lawyers Quarterly.
    1983 Vol. 15, No. 3.

    "Valuing Defined Benefit Pension Plans", American Journal of Trial Advocacy, Vol.
    7, No.1. Fall 1983.

    "Negotiating Structured Settlements", American Bar Association Journal, May
    1984., Vol. 70.

    "The Economical Use of an Economist", Presented to the Contra Costa Trial
    Lawyers Association, November 1982.

    "Negotiating Structured Settlements", California Trial Lawyers Association, January
    1984.

    "Structured Settlements Analyzed", San Diego Trial Bar News, October-December
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                                  Robert W. Johnson & Associates
                                              FORENSIC ECONOMISTS


                                               Exhibit "D"
                                            CURRICULUM VITAE


                                                James A. Mills

       EDUCATION

              San Jose State University
              San Jose, California
              Master of Arts - Applied Economics, 2000
              Santa Clara University
              Santa Clara, California
              Bachelor of Arts - Major: Economics, 1993

              Continuing Education
              U.C. Berkeley University Extension
              Certificate in Accounting, 2006

      PROFESSIONAL HISTORY

              2002 to Present
              ROBERT W. JOHNSON & ASSOCIATES - Los Altos, California
              Sr. Economist. Prepared hundreds of individual and multi-claimant economic
              damages analyses. Analyzed financial documents of over fifty public and private
              companies for ability to pay punitive damages. Given deposition testimony over
              300 times. Court qualified expert witness testimony in four states in personal injury,
              wrongful death, dissolution of marriage, financial fraud and punitive damages cases.
              Research history and trends of market economic variables.

              1997 to 2002
              NEIMAN MARCUS CO. - Palo Alto, California
              Operations Manager. Managed day-to-day operations for multi-department retail
              store with $50 million in annual sales and approximately $10 million in annual
              payroll and operating expenses. Directed strategic financial management
              including short- and long-range planning, financial control and measurement
              systems, accounting and auditing operations, and financial reporting.

              1987 to 1997
              NEIMAN MARCUS CO. - Palo Alto and San Francisco, California
              Loss Prevention and Sales Support Management.




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                                           Website: www.rwja.com
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                                                                                         Page 2
CASE INVOLVEMENT (partial list)

       MID-COAST MORTGAGE v. CUESTA TITLE - Retained as economic expert by
plaintiff to testify, in a financial fraud case, as to the current value of funds invested with a
real estate developer.

       MAJOR v. R.J. REYNOLDS TOBACCO CO. - Retained as economic expert by
plaintiff to determine the lost economic support and household services as result of a
wrongful death.

      RADFORD v. BAE SYSTEMS SAN FRANCISCO SHIP REPAIR - Retained as
economic expert by plaintiff to testify as to financial condition of defendant and ability to
pay punitive damages.

        IN THE MARRIAGE OF KAHN v. KAHN - Retained as economic expert to
determine the value of past earning capacity and the value of appreciation on separate
real property assets.

       MORA v. COMMUNITY INTEGRATED WORK PROGRAM -                    Retained as
economic expert to determine past and future medical expenses incurred by multiple
plaintiffs due to motor vehicle accident.

       GRIGGS v. CATERPILLAR - Senior Consulting Economist on a team retained
by plaintiff to calculate present cash value of lost earning capacity and future medical
expenses involving a heavy equipment operator burned on over 75% of his body.

       BULLOCK v. PHILIP MORRIS - Senior Consulting Economist on a team
retained by plaintiff regarding the calculation of a punitive damages case.

      PIETROWSKI v. BNSF - Senior Consulting Economist on a team retained by
plaintiff regarding a personal injury and punitive damages case involving a utility worker
injured after an accident with a train .

      PLOOY v. MET LIFE - Senior Consulting Economist on a team retained by
plaintiff regarding a personal injury mesothelioma case seeking economic and punitive
damages.

       KAHLE v. NORTHERN CALIFORNIA RAILROAD - Senior Consulting Economist
on a team retained by defendant regarding a personal injury economic damages case
against a railroad.
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                                                                    Page 3
PROFESSIONAL ASSOCIATION AND LICENSE

    Member, American Economics Association

    Member, National Association of Forensic Economics

    Licensed life agent. Broker of structured settlements.




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